                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT GREENEVILLE

   KOVA BRISTOL TENN 1894, LLC,                         )
   A Florida Limited Liability Company,                 )
                                                        )
   Plaintiff,                                           )
                                                        )
   v.                                                   ) Docket No. 2:19-cv-00084
                                                        )
   BRISTOL PRESERVATION, LLC,                           )
   A Tennessee Limited Liability Company,               )
                                                        )
   Defendant.                                           )


    MOTION FOR LEAVE TO FILE AFFIDAVIT OF DWIGHT E. TARWATER ON THE
      ISSUE OF BRISTOL PRESERVATION’S ATTORNEYS’ FEES UNDER SEAL

          Bristol Preservation, LLC (“Bristol Preservation”), through counsel, respectfully requests

   that the affidavit of its counsel Dwight E. Tarwater of Paine, Tarwater & Bickers, LLP discussing

   attorneys’ fees and expenses incurred by Bristol Preservation in this matter and its attachments, be

   filed under seal and be reviewed by the Court in-camera in this matter.

          Courts have discretion to seal records and documents after balancing the competing needs

   and interests of litigants, the public, and pertinent non-parties. See In Re Southeastern Milk

   Antitrust Litig., 666 F.Supp.2d 908, 916 (E.D. Tenn. 2009) (citing Brown & Williamson Tobacco

   Corp. v. FTC, 710 F.2d 1165, 1179 (6th Cir. 1983). Pursuant to Local Rule 26.2(b), court

   documents shall not be placed under seal absent a showing of “good cause.” L.R. 26.2(b).

          Here, the affidavit of Bristol Preservation’s counsel contains sensitive and private personal

   financial information of Bristol Preservation that could be harmful and reveal circumstances

   surrounding Bristol Preservation’s financial status if released to the public. This information

   includes the amounts that have been charged to Bristol Preservation by counsel during the course


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   of this action and all amounts that have been paid by Bristol Preservation to date. If made public,

   this information could injure Bristol Preservation by openly revealing its financial status and the

   expense it suffered due to KOVA’s failures in this matter. Additionally, if released, this

   information could harm Bristol Preservation’s business reputation. Bristol Preservation could

   suffer competitive disadvantage and irreparable harm if this confidential information is publicly

   available to its competitors and the marketplace. The release of this information could also cast a

   shadow on future Bristol Preservation business endeavors.

          Additionally, the engagement letter and the Paine, Tarwater & Bickers, LLP invoices

   attached to the affidavit specifically delineate and describe discussions occurring between Bristol

   Preservation and counsel and all actions taken by counsel on Bristol Preservation’s behalf. This

   letter and these descriptions reflect the thoughts and advice of counsel given to the client, Bristol

   Preservation, during the pendency of this matter. This information is protected by the attorney-

   client privilege and should not be publicly revealed in the record or made available to KOVA. See

   Upjohn Co. v. United States, 449 U.S. 383 (1981) (discussing attorney client privilege protecting

   communications between client and counsel).

          Upon the filing of this motion and the Affidavit in Support of Attorneys’ Fees, Bristol

   Preservation served a copy of this motion on KOVA and a notice of filing of the affidavit and

   attachments but did not serve KOVA with a copy of the affidavit or its attachments. A copy of

   this notice is attached to this Motion as Exhibit A. Bristol Preservation respectfully requests that

   the affidavit and its attachments be filed under seal and that due to the sensitive nature of the

   material contained therein, that the Court inspect these materials in-camera and not require that

   these materials be served upon KOVA.

                                         Respectfully submitted this 27th day of August, 2020.



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                                     PAINE | TARWATER | BICKERS, LLP

                                     /s Kendell M. Garrett
                                     Dwight E. Tarwater (BPR #007244)
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                                     Kendell M. Garrett (BPR # 035139)
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                                     THE ISAACS LAW FIRM

                                     /s Gregory Isaacs
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                                     865-673-4953

                                     Counsel for Bristol Preservation, LLC




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                                  CERTIFICATE OF SERVICE


   I hereby certify that on the 27th day of August, 2020, a copy of the foregoing motion was served
   on the following via U.S. Mail:
                                KOVA Bristol Tenn 1894, LLC
                                9130 Galleria Court, Suite 100
                                Naples, Florida 34109


                                                      /s Kendell M. Garrett




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